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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


ARAB SALEM, Individually and On                Case No.
Behalf of All Others Similarly Situated,

                                 Plaintiff,    CLASS ACTION COMPLAINT
                      v.
                                               JURY TRIAL DEMANDED
NIKOLA CORPORATION, TREVOR R.
MILTON, MARK A. RUSSELL, and KIM
J. BRADY,

                                 Defendants.
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       Plaintiff Arab Salem (“Plaintiff”), individually and on behalf of all other persons similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Nikola Corporation (“Nikola” or the “Company”), analysts’ reports

and advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

other than Defendants who purchased or otherwise acquired Nikola securities between June 4,

2020 and September 9, 2020, both dates inclusive (the “Class Period”), seeking to recover damages

caused by Defendants’ violations of the federal securities laws and to pursue remedies under

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Nikola purports to operate as an integrated zero-emissions transportation systems

provider. The Company purports to design and manufacture battery-electric and hydrogen-electric

vehicles, electric vehicle drivetrains, vehicle components, energy storage systems, and hydrogen

fueling station infrastructure. The Company also purports to develop electric vehicle solutions for

military and outdoor recreational applications. Nikola was founded in 2015 by Defendant Trevor



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Milton (“Milton”), and in June 2020, the Company’s securities began trading publicly after the

execution of a reverse merger with VectoIQ Acquisition Corp.

       3.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Defendant

Milton had repeatedly misrepresented and/or exaggerated Nikola’s financial, technological, and

operational profile; (ii) the foregoing misrepresentations were intended to, and did, present a

materially false image of the Company’s growth and success, thereby artificially inflating the

Company’s stock price; (iii) the foregoing misrepresentations were foreseeably likely to subject

the Company to enhanced regulatory scrutiny and/or enforcement, along with reputational harm

when the truth came to light; and (iv) as a result, the Company’s public statements were materially

false and misleading at all relevant times.

       4.      On September 10, 2020, Hindenburg Research (“Hindenburg”) published a report

entitled, “Nikola: How to Parlay An Ocean of Lies Into a Partnership With the Largest Auto OEM

in America” (the “Hindenburg Report” or the “Report”). Asserting that it had gathered “extensive

evidence—including recorded phone calls, text messages, private emails and behind-the-scenes

photographs,” Hindenburg represented that it had identified “dozens of false statements by”

Milton, which had led Hindenburg to conclude that Nikola “is an intricate fraud built on dozen of

lies over the course of . . . Milton’s career.” Defendant Milton made these misrepresentations, the

Report asserted, to substantially grow the Company and secure partnerships with top auto

companies.

       5.      On this news, Nikola’s stock price fell $4.80 per share, or 11.33%, to close at

$37.57 per share on September 10, 2020.



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       6.      Then, on September 14, 2020, after the market had closed, Bloomberg reported that

the SEC was investigating Nikola to assess the merits of the Hindenburg Report.

       7.      Finally, on September 15, 2020, during intra-day trading, the Wall Street Journal

reported that the United States Department of Justice (“DOJ”) had joined the SEC’s investigation

of Nikola.

       8.      On this news, Nikola’s stock fell an additional $0.17 per share during intra-day

trading, to close at $32.83 on September 15, 2020, an 8.27% decline from its previous close on

September 14, 2020.

       9.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       11.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       12.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the alleged misstatements entered and the

subsequent damages took place in this Judicial District. Pursuant to Nikola’s most recent quarterly

report on Form 10-Q, as of July 30, 2020, there were 378,980,941 shares of the Company’s

common stock outstanding.         Nikola’s common stock trades on the Nasdaq Stock Market

(“NASDAQ”). Accordingly, there are presumably hundreds, if not thousands, of investors in



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Nikola’s common stock located within the U.S., some of whom undoubtedly reside in this Judicial

District.

        13.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                            PARTIES

        14.     Plaintiff, as set forth in the attached Certification, acquired Nikola securities at

artificially inflated prices during the Class Period and was damaged upon the revelations of the

Company’s alleged fraud.

        15.     Defendant Nikola is a Delaware corporation with principal executive offices

located in Phoenix, Arizona. The Company purports to operate as an integrated zero-emissions

transportation systems provider. Nikola’s common stock trades on the NASDAQ under the ticker

symbol “NKLA.”

        16.     Defendant Milton is Nikola’s founder and has served as the Company’s Executive

Chairman at all relevant times.

        17.     Defendant Mark A. Russell (“Russell”) has served as Nikola’s President and CEO

at all relevant times.

        18.     Defendant Kim J. Brady (“Brady”) has served as Nikola’s Chief Financial Officer

at all relevant times.

        19.     Defendants Milton, Russell, and Brady are sometimes referred to herein as the

“Individual Defendants.”




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       20.      The Individual Defendants possessed the power and authority to control the

contents of Nikola’s SEC filings, press releases, and other market communications. The Individual

Defendants were provided with copies of Nikola’s SEC filings and press releases alleged herein

to be misleading prior to or shortly after their issuance and had the ability and opportunity to

prevent their issuance or to cause them to be corrected. Because of their positions with Nikola,

and their access to material information available to them but not to the public, the Individual

Defendants knew that the adverse facts specified herein had not been disclosed to and were being

concealed from the public, and that the positive representations being made were then materially

false and misleading. The Individual Defendants are liable for the false statements and omissions

pleaded herein.

       21.      Nikola and the Individual Defendants are collectively referred to herein as

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                          Background

       22.      Nikola purports to operate as an integrated zero-emissions transportation systems

provider. The Company purports to design and manufacture battery-electric and hydrogen-electric

vehicles, electric vehicle drivetrains, vehicle components, energy storage systems, and hydrogen

fueling station infrastructure. The Company also purports to develop electric vehicle solutions for

military and outdoor recreational applications. Nikola was founded in 2015 by Defendant Milton,

and in June 2020, the Company’s securities began trading publicly after the execution of a reverse

merger with VectoIQ Acquisition Corp.




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         Materially False and Misleading Statements Issued During the Class Period

        23.     The Class Period begins on June 4, 2020, the day after Nikola issued a press release

announcing that the Company had closed its business combination with VectoIQ and that the

Company would begin publicly trading on the NASDAQ the following day. The press release

stated, in relevant part:

        The business combination . . . further solidifies Nikola as a global leader in zero-
        emissions transportation and infrastructure solutions. On June 4, 2020, the
        combined company’s shares will trade on the Nasdaq under the new ticker symbol
        “NKLA.”

                                               ***

        “Nikola is thrilled to complete the Nasdaq listing and be part of the ESG investment
        world. This is a significant endorsement in fuel-cell and battery-electric technology.
        Since Nikola launched its first fuel-cell semi-truck, you have seen the world rally
        behind hydrogen and follow our lead. What was once considered the fuel of the
        future is now accepted as today’s solution,” said Nikola’s Founder and Executive
        Chairman Trevor Milton. “With our Nikola IVECO joint venture and over $10
        billion in pre-order reservations, Nikola is positioned to be a wonderful story of
        how one company can literally change the world.”

        24.     On July 17, 2020, Nikola filed a prospectus on Form 424B3 with the SEC (the “July

17, 2020 Prospectus”). In providing an overview of the Company, the July 17, 2020 Prospectus

touted, in relevant part:

                We are a vertically integrated zero-emissions transportation solution
        provider that designs and manufactures state-of-the-art battery-electric and
        hydrogen fuel cell electric vehicles, electric vehicle drivetrains, energy storage
        systems, and hydrogen fueling stations. Our core product offering is centered
        around our battery-electric vehicle (“BEV”) and hydrogen fuel cell electric vehicle
        (“FCEV”) Class 8 semi-trucks. The key differentiator of our business model is our
        planned network of hydrogen fueling stations. We are offering a revolutionary
        bundled lease model, which provides customers with the FCEV truck, hydrogen
        fuel, and maintenance for a fixed price per mile, locks in fuel demand and
        significantly de-risks infrastructure development.

(Emphasis added.)




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        25.     Further, the July 17, 2020 Prospectus touted the Company’s purported performance

in its three business units, stating, in relevant part:

        The Truck business unit is developing and commercializing battery-electric vehicle
        (“BEV”) and hydrogen fuel cell electric vehicle (“FCEV”) class 8 trucks that
        provide environmentally friendly, cost-effective solutions to the short haul and
        long-haul trucking sector. The Energy business unit is developing and constructing
        a network of hydrogen fueling stations to meet hydrogen fuel demand for FCEV
        customers. The Powersports business unit is developing electric vehicle solutions
        for military and outdoor recreational applications.

        26.     In addition, in a section entitled, “Who We Are,” the July 17, 2020 Prospectus

touted, in relevant part:

              Nikola’s vision is to be the zero-emissions transportation industry leader.
        We plan to realize this vision through world-class partnerships, groundbreaking
        R&D, and a revolutionary business model.

                                                 ***

               We believe our station network will provide a competitive advantage and
        help accelerate the adoption of our FCEVs. We believe our product portfolio and
        hydrogen fueling network provides a key strategic advantage that differentiates
        Nikola from competitors and will allow us to disrupt the estimated $600 billion
        global heavy-duty commercial vehicle and the related fueling and maintenance
        ecosystems.

        27.     Next, in providing an overview of the Company’s total addressable market, the July

17, 2020 Prospectus stated, in relevant part, “Nikola’s unique bundled lease which includes the

FCEV truck, fuel, and maintenance, will allow us to expand our total addressable market

significantly when compared to traditional OEMs[,]” and that, “[g]lobally, the total addressable

market (“TAM”), is estimated to be a $600 billion per-year with steady growth expected to

continue as e-commerce and global economic growth fuel the need for more heavy-duty trucks.”

        28.     The July 17, 2020 Prospectus also included a discussion of the Company’s

products, touting, in relevant part:




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             As the commercial transportation sector transitions towards zero-emission
     solutions, we believe there will be a need to offer tailored solutions that meet the
     needs of each customer. Unlike the passenger vehicle market, where users typically
     return home each day, the commercial vehicle market contains multiple use cases
     often requiring vehicles to be out on the road for days, or weeks at a time. By
     offering both BEVs (for short-haul) and FCEVs (for medium- and long-haul), we
     believe Nikola is uniquely positioned to disrupt the commercial transportation
     sector by providing solutions that address the full range of customer needs.

                                            ***

             We have developed an extensive portfolio of proprietary technologies that
     are embedded and integrated in our highly specialized BEV and FCEV zero-
     emission vehicles. In addition, we plan to leverage our zero-emission powertrain
     expertise to address transportation adjacencies as exemplified with our Powersports
     product offerings.

                                            ***

             Our management team is primarily focused on the core semi-truck and
     hydrogen station programs. However, we believe that we can leverage our zero-
     emission powertrain expertise to address transportation adjacencies. Our
     Powersports product offerings provide significant benefits to our core semi-truck
     and hydrogen station programs, including branding halo, driving awareness of
     Nikola and our industry-defining technology, and R&D synergies on electric
     drivetrain, battery technology, and other core components.

                                            ***

             In addition to building heavy-duty zero-emission trucks, Nikola is also
     developing fueling and charging stations in North America and Europe to support
     our FCEV fleet customers and to help capture first mover advantage with respect
     to next generation fueling infrastructure. Over the next 8 to 10 years, Nikola intends
     to collaborate with strategic partners to build up to 700 fueling and charging stations
     in North America and approximately 70 fueling and charging stations in Europe.

                                            ***

             Nikola’s bundled lease includes maintenance for its vehicles. Service and
     maintenance of an electric vehicle is expected to be lower than the traditional ICE
     vehicle which has been proven in the electric passenger vehicle market. Fewer parts
     and considerably reduced complexity of the key drivetrain components should
     result in fewer breakdowns and less preventive maintenance, leading to better
     uptime and lower maintenance cost to operators. Reduced downtime could also lead
     to increased revenue for fleets as asset productivity increases.



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                                                 ***

               A key requirement for our fleet customers is knowing there is an available
        service infrastructure for the maintenance and repair of our vehicles. Nikola is
        building a strong network of providers, a robust preventive maintenance program,
        as well as several levels of service depending on the complexity and type of
        maintenance required.

               Nikola’s plans with respect to the service and maintenance of its vehicles is
        expected to include the following:

              •   Electric vehicles have a system of sensors and controls that allow for precise
                  monitoring of the vehicle and component operation performance. We will
                  use this data to provide smart predictive maintenance, which will decrease
                  downtime and costs by identifying a potential problem before it results in a
                  breakdown.

              •   Nikola will have the ability to provide over the air updates and software
                  fixes when the vehicle is stopped. This can significantly reduce the time for
                  repair and improve uptime.

              •   In cases where a customer has their own maintenance infrastructure, we will
                  identify and provide procedures for items that can be maintained at their
                  shops. This could include procedures such as tire changes, wiper and
                  windshield repair and brake servicing.

              •   In cases where the customer does not have a maintenance infrastructure or
                  for more complex items, Nikola is leveraging its exclusive partner
                  Thompson Caterpillar for maintenance and warranty work. Customers will
                  have access to an already established network of 800 service stations as well
                  as the ability to deploy a mobile service model. We will also support our
                  partners with technologies like augmented reality and web-enabled video to
                  support technicians for very complex tasks or newly identified issues.

              •   If a vehicle requires maintenance of a complex system such as the fuel cell
                  or battery, some of those items can be swapped or replaced with relative
                  ease. This allows us to repair the downed component in the background and
                  minimize vehicle downtime. We are also planning to develop a network of
                  trained technicians that can travel to a customer or service partner site as
                  necessary.

        29.       Finally, with respect to partnerships and suppliers, the July 17, 2020 Prospectus

stated, in relevant part:



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                Nikola’s vision will be realized through a revolutionary business model,
        groundbreaking R&D, disciplined execution, and world-class partnerships. Our
        business model is validated and supported by world-class strategic partnerships that
        significantly reduce execution risk, improve commercialization timeline, and
        provide a long-term competitive advantage. These world-class partners have
        accelerated our internal development, growth, and learning and have positioned us
        to revolutionize the transportation sector. We believe our partnerships help increase
        the depth and breadth of our competitive advantage as well.

                Our partnership philosophy is a recognition that the world’s toughest
        challenges require bold solutions and a collaborative effort from multiple parties.
        Our goal is to provide zero-emission solutions to the transportation sector and to
        usher in next-generation grid solutions. With the help of our partners, we believe
        our chances of success are greatly improved. At Nikola, we are inspired by the
        knowledge that if we are successful, the whole world wins.

        30.    On July 27, 2020, Nikola filed a prospectus on Form 424B3 with the SEC (the “July

27, 2020 Prospectus”). The July 27, 2020 Prospectus contained substantively similar statements

as those contained in the July 17, 2020 Prospectus, discussed above in ¶¶ 24-29.

        31.    On August 4, 2020, Nikola filed a Quarterly Report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended June 30, 2020 (the

“Q2 2020 10-Q”). In providing an overview of the Company, the Q2 2020 10-Q stated, in relevant

part:

                We are a vertically integrated zero emissions transportation systems
        provider that designs and manufactures state of the art battery electric and hydrogen
        electric vehicles, electric vehicle drivetrains, energy storage systems, and hydrogen
        fueling stations. To date, we have been primarily focused on delivering zero
        emission Class 8 trucks to the commercial transportation sector in the U.S. and in
        Europe. Our core product offering includes battery electric and hydrogen fuel cell
        electric trucks and hydrogen fuel.

                We operate in three business units: Truck, Energy and Powersports. The
        Truck business unit is developing and commercializing BEV and FCEV Class 8
        trucks that provide environmentally friendly, cost effective solutions to the short
        haul and long haul trucking sector. The Energy business unit is developing and
        constructing a network of hydrogen fueling stations to meet hydrogen fuel demand
        for our FCEV customers. The Powersports business unit is developing electric
        vehicle solutions for military and outdoor recreational applications.



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          32.    Further, with respect to the Company’s controls and procedures, the Q2 2020 10-Q

stated:

          Evaluation of Disclosure Controls and Procedures

                  We maintain a system of disclosure controls and procedures (as defined in
          Rules 13a-15(e) and 15d-15(e) under the Securities Exchange Act of 1934 (the
          “Exchange Act”) designed to ensure that the information required to be disclosed
          by us in the reports that we file or submit under the Exchange Act is recorded,
          processed, summarized and reported within the time periods specified in the rules
          and forms of the Securities and Exchange Commission, and is accumulated and
          communicated to our management, including our Chief Executive Officer (our
          principal executive officer) and Chief Financial Officer (our principal financial
          officer), as appropriate, to allow timely decisions regarding required disclosure.

                  Our management, with the participation of our Chief Executive Officer and
          our Chief Financial Officer, has evaluated the effectiveness of our disclosure
          controls and procedures under the Exchange Act as of June 30, 2020, the end of the
          period covered by this Quarterly Report on Form 10-Q. Based on such evaluation,
          our Chief Executive Officer and our Chief Financial Officer have concluded that,
          as of such date, our disclosure controls and procedures were effective.

          Changes in Internal Control over Financial Reporting

                  There were no changes in our internal control over financial reporting, as
          identified in connection with the evaluation required by Rule 13a-15(d) and Rule
          15d-15(d) of the Exchange Act, that occurred during the three months ended June
          30, 2020 that have materially affected, or are reasonably likely to materially affect,
          our internal control over financial reporting.

          33.    Appended to the Q2 2020 10-Q as exhibits were signed certifications pursuant to

the Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Russell and Brady, attesting that “[t]he

information contained in the [Q2 2020 10-Q] fairly presents, in all material respects, the financial

condition and results of operations of the Company as of and for the period covered by the [Q2

2020 10-Q].”

          34.    That same day, Nikola hosted an earnings call with investors and analysts to discuss

the Company’s financial and operating results for the second quarter of 2020. During the call,




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Defendant Russell touted the purported operational performance of the Company, stating, in

relevant part:

       Nikola is a vertically integrated zero emissions transportation systems provider. We
       design and manufacture battery electric and hydrogen fuel cell electric vehicles
       along with the battery charging systems and hydrogen fueling stations to power
       them. Our core global offering centers on heavy commercial trucks. Our long haul
       commercial transport solution is especially unique with a revolutionary bundled
       lease or freight-as-a-service model. We provide customers with a fuel cell electric
       truck, the hydrogen fuel it needs and the all scheduled maintenance for a fixed total
       cost.

       All the customer needs to provide is a driver. This approach has proven very
       attractive and many customers are finding that they will be able to transition to zero
       emissions without an increase in total cost compared to their current fossil fuel
       solution. Our fuel cell electric truck reservation book exceeded 14,000 units or
       approximately $10 billion in potential revenue sometime ago.

       Since then we focused our efforts on direct partnerships with customers, who have
       dedicated routes rolling out our hydrogen station network along corporate
       customers dedicated routes or milk runs allows us to guarantee a high degree of
       hydrogen station utilization and avoid speculative investments in fueling
       infrastructure. Stations are being developed based on known customer demand
       along established dedicated routes.

       35.       Later on the call, when answering a question regarding whether the Company

would expand beyond trucking and fuel stations, Defendant Russell replied:

       Well . . . you have to trust us, as there’s a lot more going on than you see in the
       announcements. As you know, we’re talking to lots of folks. We were talking to
       lots of folks before, but now this seems like just about everybody in the world
       knows about us. We’re having lots of conversations with lots of people. And when
       we are able to announce those publicly, we’re going to do it just as Kim said. A lot
       of the people we’re talking to would like to keep those conversations confidential
       for now.

       And so that’s one of the reasons we don’t announce everything that we have going
       on. But when we have something that we can publicly announce and you’re going
       to hear about it. I will make one additional to Kim’s point before. There’s going to
       be a lot of cool things in Nikola world. You want, you want to be there? We won’t
       wait. If we have something that’s material, of course, we’re going to announce it.
       We’re required to do that. But there’s going to be a lot of cool stuff that happens in
       Nikola world. That’s going to be a place.



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(Emphases added.)

       36.     Finally, when asked a question regarding the grid and hydrogen’s role in balancing

the energy demand, Defendant Russell replied, in relevant part:

       One of the great benefits of what Nikola is bringing to the world is the ability to
       balance the renewable energy that’s coming into the grid.

                                              ***

       So one of the great things that Nikola offers to the world is when we put these
       hydrogen stations in and we start to get a lot of them in there, it represents a
       tremendous amount of demand for electricity that can match up to the supply. So
       we can make a – we can make hydrogen when the electricity is available and then
       we don’t have to add significant demand to the peak.

                                              ***

       And so you got this mismatch between the peak of renewable production, if the
       wind happens to be blowing optimally around noon, and the sun always shines
       optimally at noon, then you’ve got way too much power at that point. And then but
       sometime around between four o’clock and seven o’clock you don’t have enough.
       Well, guess what, when Nicola is there in bulk, which we’re going to be in volume.
       We can take a lot of that extra power at the peak and turn it into hydrogen. And
       then we don’t have to be pulling power when the rest of the grid needs it so badly
       at the peak of demand.

       37.     On August 10, 2020, Nikola issued a press release entitled, “Nikola Receives

Landmark Order of 2,500 Battery-Electric Waste Trucks from Republic Services.” The press

release quoted Defendant Milton, touting, in relevant part:

       “Nikola specializes in heavy-duty, zero-emission Class 8 trucks. The refuse market
       is one of the most stable markets in the industry and provides long-term shareholder
       value,” said Nikola Founder and Executive Chairman Trevor Milton. “The Nikola
       Tre powertrain is ideal for the refuse market as it shares and uses the same batteries,
       controls, inverters and e-axle. By sharing the Tre platform, we can drive the cost
       down for both programs by using the same parts. You couldn’t pick a better partner
       than Republic Services, a leader in long-term environmental sustainability and
       customer service. Republic Services will help us ensure the Nikola Tre meets
       customer and fleet lifecycle demands and we are excited to have them participate
       in the design process.”




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In addition, the press release quoted Defendant Russell, who stated that “[t]his is a game changer,”

and that “[r]efuse truck customers have always ordered chassis from truck OEMs and bodies from

other suppliers. Nikola has fully integrated the chassis and body, covering both with a single

factory warranty. Trucks will include both automated side loaders and front-end loaders — all of

which will be zero-emission.”

        38.     On September 8, 2020, Nikola issued a press release announcing that it had formed

a strategic partnership with General Motors Co. The press release quoted Defendant Milton,

stating, in relevant part:

        “Nikola is one of the most innovative companies in the world. General Motors is
        one of the top engineering and manufacturing companies in the world. You couldn’t
        dream of a better partnership than this,” said Nikola Founder and Executive
        Chairman Trevor Milton. “By joining together, we get access to their validated
        parts for all of our programs, General Motors’ Ultium battery technology and a
        multi-billion dollar fuel cell program ready for production. Nikola immediately gets
        decades of supplier and manufacturing knowledge, validated and tested production-
        ready EV propulsion, world-class engineering and investor confidence. Most
        importantly, General Motors has a vested interest to see Nikola succeed. We made
        three promises to our stakeholders and have now fulfilled two out of three promises
        ahead of schedule. What an exciting announcement.”

        39.     The statements referenced in ¶¶ 23-38 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operational and compliance policies.               Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Defendant

Milton had repeatedly misrepresented and/or exaggerated Nikola’s financial, technological, and

operational profile; (ii) the foregoing misrepresentations were intended to, and did, present a

materially false image of the Company’s growth and success, thereby artificially inflating the

Company’s stock price; (iii) the foregoing misrepresentations were foreseeably likely to subject

the Company to enhanced regulatory scrutiny and/or enforcement, along with reputational harm



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when the truth came to light; and (iv) as a result, the Company’s public statements were materially

false and misleading at all relevant times.

                                    The Truth Begins to Emerge

        40.       On September 10, 2020, Hindenburg published a report entitled, “Nikola: How to

Parlay An Ocean of Lies Into a Partnership With the Largest Auto OEM in America.” Asserting

that it had gathered “extensive evidence—including recorded phone calls, text messages, private

emails and behind-the-scenes photographs,” Hindenburg represented that it had identified “dozens

of false statements by” Milton, which had led Hindenburg to conclude that Nikola “is an intricate

fraud built on dozen of lies over the course of . . . Milton’s career.” For example, the Report

alleged, inter alia:

              •   We reveal how, in the face of growing skepticism over the functionality of
                  its truck, Nikola staged a video called “Nikola One in Motion” which
                  showed the semi-truck cruising on a road at a high rate of speed. Our
                  investigation of the site and text messages from a former employee reveal
                  that the video was an elaborate ruse—Nikola had the truck towed to the top
                  of a hill on a remote stretch of road and simply filmed it rolling down the
                  hill.

              •   In October 2019, Nikola announced it would revolutionize the battery
                  industry. This was to be done through a pending acquisition, but the deal
                  fell through when Nikola realized (a) the technology was vaporware and (b)
                  the President of the battery company had been indicted months earlier over
                  allegations that he conned NASA by using his expense account to procure
                  numerous prostitutes.

                                                ***

              •   Inexpensive hydrogen is fundamental to the success of Nikola’s business
                  model. Trevor has claimed in a presentation to hundreds of people and in
                  multiple interviews to have succeeded at cutting the cost of hydrogen by
                  ~81% compared to peers and to already be producing hydrogen. Nikola has
                  not produced hydrogen at this price or at any price as he later admitted when
                  pressed by media.

                                                ***


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             •   Trevor claims Nikola designs all key components in house, but they appear
                 to simply be buying or licensing them from third-parties. One example: we
                 found that Nikola actually buys inverters from a company called Cascadia.
                 In a video showing off its “in-house” inverters, Nikola concealed the
                 Cascadia label with a piece of masking tape.

                                                ***

             •   Nikola’s much-touted multi-billion dollar order book is filled with fluff.
                 U.S. Xpress reportedly accounts for a third of its reservations, representing
                 ~$3.5 billion in orders. U.S. Xpress had only $1.3 million in cash on hand
                 last quarter.

                                                ***

             •   Trevor has ensured he is not going down with the ship. He cashed out $70
                 million around the IPO and amended his share lock-up from 1-year to 180
                 days. If he is fired, his equity awards immediately vest and he is entitled to
                 collect $20 million over two years. Milton has laid the groundwork to
                 extract hundreds of millions from Nikola years before ever delivering on
                 his promises.

Defendant Milton made these misrepresentations, the Report suggested, to substantially grow the

Company and secure partnerships with top auto companies.

       41.       On this news, Nikola’s stock price fell $4.80 per share, or 11.33%, to close at

$37.57 per share on September 10, 2020.

       42.       Then, on September 14, 2020, after the market had closed, Bloomberg reported that

the SEC was investigating Nikola in connection with the allegations in the Hindenburg Report.

       43.       Finally, on September 15, 2020, during intra-day trading, the Wall Street Journal

reported that the United States Department of Justice (“DOJ”) had joined the SEC’s investigation

of Nikola.

       44.       On this news, Nikola’s stock fell an additional $0.17 per share during intra-day

trading, to close at $32.83 on September 15, 2020, an 8.27% decline from its previous close on

September 14, 2020.


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        45.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        46.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Nikola securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        47.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Nikola securities were actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Nikola or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        48.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




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       49.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       50.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

             •     whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

             •     whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Nikola;

             •     whether the Individual Defendants caused Nikola to issue false and misleading
                   financial statements during the Class Period;

             •     whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

             •     whether the prices of Nikola securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and

             •     whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       51.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       52.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:



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              •     Defendants made public misrepresentations or failed to disclose material facts
                    during the Class Period;

              •     the omissions and misrepresentations were material;

              •     Nikola securities are traded in an efficient market;

              •     the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

              •     the Company traded on the NASDAQ and was covered by multiple analysts;

              •     the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

              •     Plaintiff and members of the Class purchased, acquired and/or sold Nikola
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        53.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        54.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        55.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        56.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.




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       57.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Nikola securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Nikola

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

       58.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Nikola securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Nikola’s finances and business prospects.

       59.      By virtue of their positions at Nikola, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose



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such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        60.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Nikola, the Individual Defendants had knowledge of the details of Nikola’s

internal affairs.

        61.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.      Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Nikola. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Nikola’s businesses,

operations, future financial condition and future prospects. As a result of the dissemination of the

aforementioned false and misleading reports, releases and public statements, the market price of

Nikola securities was artificially inflated throughout the Class Period. In ignorance of the adverse

facts concerning Nikola’s business and financial condition which were concealed by Defendants,

Plaintiff and the other members of the Class purchased or otherwise acquired Nikola securities at

artificially inflated prices and relied upon the price of the securities, the integrity of the market for

the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

        62.     During the Class Period, Nikola securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading



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statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Nikola

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired

said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Nikola securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Nikola securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

          63.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          64.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          65.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          66.   During the Class Period, the Individual Defendants participated in the operation

and management of Nikola, and conducted and participated, directly and indirectly, in the conduct



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of Nikola’s business affairs. Because of their senior positions, they knew the adverse non-public

information about Nikola’s misstatement of income and expenses and false financial statements.

       67.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Nikola’s

financial condition and results of operations, and to correct promptly any public statements issued

by Nikola which had become materially false or misleading.

       68.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Nikola disseminated in the marketplace during the Class Period concerning

Nikola’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Nikola to engage in the wrongful acts complained of herein.

The Individual Defendants therefore, were “controlling persons” of Nikola within the meaning of

Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Nikola securities.

       69.     Each of the Individual Defendants, therefore, acted as a controlling person of

Nikola. By reason of their senior management positions and/or being directors of Nikola, each of

the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

Nikola to engage in the unlawful acts and conduct complained of herein. Each of the Individual

Defendants exercised control over the general operations of Nikola and possessed the power to

control the specific activities which comprise the primary violations about which Plaintiff and the

other members of the Class complain.

       70.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Nikola.



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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: September 16, 2020

                                                        Respectfully submitted,
                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman
                                                        J. Alexander Hood II
                                                        600 Third Avenue, 20th Floor
                                                        New York, New York 10016
                                                        Telephone: (212) 661-1100
                                                        Facsimile: (212) 661-8665
                                                        jalieberman@pomlaw.com
                                                        ahood@pomlaw.com

                                                        POMERANTZ LLP
                                                        Patrick V. Dahlstrom
                                                        10 South La Salle Street, Suite 3505
                                                        Chicago, Illinois 60603
                                                        Telephone: (312) 377-1181
                                                        Facsimile: (312) 377-1184
                                                        pdahlstrom@pomlaw.com



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                                           THE SCHALL LAW FIRM
                                           Brian Schall
                                           (pro hac vice application forthcoming)
                                           Rina Restaino
                                           (pro hac vice application forthcoming)
                                           2049 Century Park East, Suite 2460
                                           Los Angeles, CA 90067
                                           Telephone: (424) 303-1964
                                           brian@schallfirm.com
                                           rina@schallfirm.com

                                           Attorneys for Plaintiff




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                                                 CERTIFICATION PURSUANT
                                               TO FEDERAL SECURITIES LAWS


                     1.       I, Arab Salem, make this declaration pursuant to Section 27(a)(2) of the Securities Act of

            1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”)

            as amended by the Private Securities Litigation Reform Act of 1995.

                     2.       I have reviewed a Complaint against Nikola Corporation (“Nikola” or the “Company”) and

            authorize the filing of a comparable complaint on my behalf.

                     3.       I did not purchase or acquire Nikola securities at the direction of plaintiffs’ counsel or in

            order to participate in any private action arising under the Securities Act or Exchange Act.

                     4.       I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Nikola securities during the class period, including providing testimony

            at deposition and trial, if necessary. I understand that the Court has the authority to select the most adequate

            lead plaintiff in this action.

                     5.       To the best of my current knowledge, the attached sheet lists all of my transactions in

            Nikola securities during the Class Period as specified in the Complaint.

                     6.       During the three-year period preceding the date on which this Certification is signed, I have

            not served or sought to serve as a representative party on behalf of a class under the federal securities laws.

                     7.       I agree not to accept any payment for serving as a representative party on behalf of the

            class as set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs

            and expenses directly relating to the representation of the class as ordered or approved by the Court.
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                     8.      I declare under penalty of perjury that the foregoing is true and correct.


                          9/10/2020
            Executed _____________________________
                          (Date)



                                                               _______________________________________
                                                                      (Signature)

                                                               Arab Salem
                                                               _______________________________________
                                                                      (Type or Print Name)
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 Nikola Corporation (NKLA)                                                     Salem, Arab

                                    List of Purchases and Sales

     Transaction                                   Number of             Price Per
        Type                 Date                  Shares/Unit          Share/Unit

      Purchase                  6/17/2020                          15            $64.9000
      Purchase                   7/8/2020                          40            $49.1200
      Purchase                   7/8/2020                          40            $48.9000
      Purchase                   7/8/2020                          40            $49.5753
      Purchase                   7/8/2020                          80            $49.8400
      Purchase                   7/8/2020                         100            $49.6300
      Purchase                   7/8/2020                         200            $49.9300
      Purchase                   7/8/2020                          99            $50.0800
      Purchase                   7/8/2020                         198            $50.3400
      Purchase                   7/8/2020                         100            $54.5300
      Purchase                   7/8/2020                          82            $54.5982
      Purchase                   7/9/2020                          83            $59.6200
      Purchase                  7/21/2020                          47            $41.7000
      Purchase                  7/24/2020                          32            $30.6000
      Purchase                  8/21/2020                          24            $40.4600
